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     Federal Defender
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 5
     Attorney for Defendant
 6   SAMNEUK BUNMA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:06-cr-00313 LJO
                                           )
12                     Plaintiff,          )             STIPULATION TO CONTINUE SENTENCING
                                           )             AND
13         v.                              )             ORDER THEREON
                                           )
14   SAMNEUK BUNMA, et al.,                )             Date:     April 23, 2010
                                           )             Time:     9:00 a.m.
15                     Defendants.         )             Judge:    Hon. Lawrence J. O’Neill
                                           )
16   _____________________________________ )
17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, and ERIC V. KERSTEN,
19   Assistant Federal Defender, counsel for Defendant Samneuk Bunma, that the date for sentencing may be
20   continued to April 23, 2010, or the soonest date thereafter that is convenient to the court. The date
21   currently set for sentencing is January 22, 2010. The requested new date is April 23, 2010.
22            Mr. Bunma is out of custody. He has entered a plea agreement and is awaiting sentencing. It is
23   anticipated that Mr. Bunma will be remanded at that time. On the requested sentencing date of April 23,
24   2010, a co-defendant in the case, Phat Sam, is also scheduled for sentencing.
25            Mr. Bunma has been out of custody, under pre-trial supervision, throughout the extended
26   proceedings in this matter and he has had no problems whatsoever. He is currently working and has a five
27   month old daughter. He hopes to stay out of custody as short while longer to allow additional time to
28   bond with his daughter, and also to earn additional money to assist with her support. In addition, a 5K1.1
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 1   motion will be filed in this matter and, depending upon the decisions of co-defendants who are awaiting
 2   sentencing, it may be necessary for Mr. Bunma to complete additional tasks in order to comply with his
 3   obligations under the plea agreement.
 4             The parties agree that the delay resulting from the continuance shall be excluded as necessary for
 5   effective defense preparation, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv). For this reason, the ends of
 6   justice served by the granting of the requested continuance outweigh the interests of the public and the
 7   defendants in a speedy trial.
 8
 9                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
10
11             DATED: January 19, 2010                     By /s/ KATHLEEN A. SERVATIUS
                                                              KATHLEEN A. SERVATIUS
12                                                            Assistant United States Attorney
                                                              Attorney for Plaintiff
13
14
15                                                            DANIEL J. BRODERICK
                                                              Federal Defender
16
17             DATED: January 19, 2010                     By /s/ Eric V. Kersten
                                                             ERIC V. KERSTEN
18                                                           Assistant Federal Defender
                                                             Attorney for Defendant
19                                                           Samneuk Bunma
20
21
22                                                         ORDER
23             The intervening period of delay is excluded in the interests of justice pursuant to 18 U.S.C. §
24   3161(h)(8)(B)(iv).
25
                                                              IT IS SO ORDERED.
26
     Dated:      January 20, 2010                          /s/ Lawrence J. O'Neill
27   b9ed48                                            UNITED STATES DISTRICT JUDGE
28


     Bunma: Stipulation to Continue Sentencing and Order      2
